       Case 2:16-cv-03799-DJH Document 63 Filed 12/14/18 Page 1 of 2



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 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF ARIZONA
10    HKB, Inc., an Arizona Corporation, dba          No. 2:16-cv-03799-DJH (Lead Case)
      Southwest Industrial Rigging,                   No. 2:17-cv-00198
11
                                     Plaintiff,       NOTICE OF SERVICE OF
12                                                    DISCOVERY
      v.
13
      Board of Trustees for the Southwest
14    Carpenter’s Southwest Trust; et al.,
                                                      (Assigned to the Honorable
15                                   Defendants.      Diane J. Humetawa)
16    Board of Trustees for the Southwest
17    Carpenter’s Southwest Trust; et al.,

18                                   Plaintiffs,

19    v.

20    HKB, Inc., an Arizona Corporation, dba
      Southwest Industrial Rigging, et al.,
21                                   Defendants.
22
23            HKB, Inc. dba Southwest Industrial Rigging hereby gives notice of service upon
24 Board of Trustees for the Southwest Carpenter’s Southwest Trust of its Requests for
25 Admission, Requests for Production of Documents and First Set of Non-Uniform
26 Interrogatories by U.S. Mail on December 13, 2018.
27
28

     CORE/3008422.0002/148179933.1
       Case 2:16-cv-03799-DJH Document 63 Filed 12/14/18 Page 2 of 2




 1            RESPECTFULLY SUBMITTED              14th    day of December, 2018.
 2                                                    STINSON LEONARD STREET LLP
 3
                                            By:       /s/ Javier Torres
 4
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 5                                                    Javier Torres
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 7
 8
 9
10                                   CERTIFICATE OF SERVICE
11            I hereby certify that on December 14, 2018 I caused the foregoing document to be
12 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
13 notice of the electronic filing to:
14
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15            Steven Zeller (admitted pro hac vice)
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              Administrative Corporation and Board of Trustees
21            for the Carpenters Southwest Trusts
22
23
24                                             /s/ C. Roundtree
25
26
27
28
     CORE/3008422.0002/148179933.1
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